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                                                                          1
                                                                          2
                                                                          3                     IN THE UNITED STATES DISTRICT COURT
                                                                          4                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          5
                                                                              IN RE: CATHODE RAY TUBE (CRT)      )        MDL No. 1917
                                                                          6   ANTITRUST LITIGATION               )
                                                                                                                 )        Case No. C-07-5944-SC
                                                                          7                                      )
                                                                                                                 )        ORDER GRANTING IN PART AND
                                                                          8   This Order Relates To:             )        DENYING IN PART THE THOMSON
                                                                                                                 )        DEFENDANTS' MOTIONS TO
                                                                          9   Sharp Electronics Corp. v. Hitachi )        DISMISS
                                                                              Ltd., No. C-13-1173-SC;            )
                                                                         10                                      )
                               For the Northern District of California
United States District Court




                                                                              Electrograph Systems, Inc. v.      )
                                                                         11   Technicolor SA, No. 13-cv-05724;   )
                                                                                                                 )
                                                                         12   Alfred H. Siegel v. Technicolor    )
                                                                              SA, No. 13-cv-05261;               )
                                                                         13                                      )
                                                                              Best Buy Co., Inc. v. Technicolor )
                                                                         14   SA, No. 13-cv-05264;               )
                                                                                                                 )
                                                                         15   Interbond Corporation of America   )
                                                                              v. Technicolor                     )
                                                                         16   SA, No. 13-cv-05727;               )
                                                                                                                 )
                                                                         17   Office Depot, Inc. v. Technicolor )
                                                                              SA, No. 13-cv-05726;               )
                                                                         18                                      )
                                                                              Costco Wholesale Corporation v.    )
                                                                         19   Technicolor SA, No. 13-cv-05723;   )
                                                                                                                 )
                                                                         20   P.C. Richard & Son Long Island     )
                                                                              Corporation v. Technicolor SA, No. )
                                                                         21   13-cv-05725;                       )
                                                                                                                 )
                                                                         22   Schultze Agency Services, LLC v.   )
                                                                              Technicolor SA, Ltd., No. 13-cv-   )
                                                                         23   05668;                             )
                                                                                                                 )
                                                                         24   Sears, Roebuck and Co. and Kmart   )
                                                                              Corp. v. Technicolor SA, No. 3:13- )
                                                                         25   cv-05262;                          )
                                                                                                                 )
                                                                         26   Target Corp. v. Technicolor SA,    )
                                                                              No. 13-cv-05686                    )
                                                                         27                                      )
                                                                                                                 )
                                                                         28                                      )
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                                                                          1   I.      INTRODUCTION
                                                                          2           Now before the Court are Defendants Thomson SA's ("Thomson
                                                                          3   SA") and Thomson Consumer Electronics, Inc.'s ("Thomson Consumer")
                                                                          4   (collectively "Defendants" or the "Thomson Defendants') motions to
                                                                          5   dismiss the above-captioned Sharp Plaintiffs' ("Sharp") 1 first
                                                                          6   amended complaint for lack of personal jurisdiction, as well as the
                                                                          7   complaints of various direct action plaintiffs ("DAPs"). 2             ECF No.
                                                                          8   2235-4 ("TSA MTD Sharp"), 2236 ("TC MTD Sharp") (filed under seal),
                                                                          9   2353 ("TC MTD DAP"), 2355-10 ("TSA MTD DAP") (filed under seal). 3
                                                                         10   The motions are fully briefed. 4        Finding this matter suitable for
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                                                                         11   disposition without oral argument, Civ. L.R. 7-1(b), the Court
                                                                         12   GRANTS in part and DENIES in part each Thomson Defendant's motion.
                                                                         13   ///
                                                                         14
                                                                              1
                                                                         15     "Sharp" collectively includes Sharp Electronics Corporation
                                                                              ("SEC") and Sharp Electronics Manufacturing Company of America,
                                                                         16   Inc. ("SEMA"). Sharp's complaint is filed under seal at ECF No.
                                                                              2030-4.
                                                                         17   2
                                                                                When convenient to do so, the Court refers collectively to Sharp
                                                                         18   and the DAPs as "Plaintiffs."
                                                                              3
                                                                         19     The DAPs' pleadings appear under seal in the following cases:
                                                                              Best Buy Co, Inc. v. Technicolor SA, No. 13-cv-05264; Siegel v.
                                                                         20   Technicolor SA, No. 13-cv-00141; Costco Wholesale Corp. v.
                                                                              Technicolor SA (f/kla Thomson SA) et al., No. 13-cv-05723;
                                                                         21   Electrograph Systems, Inc. v. Technicolor SA, No. 2: 13-cv-05724;
                                                                              Interbond Corp. of Am. v. Technicolor SA, No. 13-cv-05727;
                                                                         22   Office Depot, Inc. v. Technicolor SA, No. 13-cv-05726; P.C. Richard
                                                                              & Son Long Island Corp. v. Technicolor SA, No. 13-cv-05725; Sears,
                                                                         23   Roebuck & Co. v. Technicolor SA, No. 13-cv-05262; Schultze Agency
                                                                              Services, LLC v. Technicolor SA, No. 13-cv-05668; and Target Corp.
                                                                         24   v. Technicolor SA, No. 13-cv-05686. Rather than citing pertinent
                                                                              paragraphs from each DAPs' complaint, the Court often refers to one
                                                                         25   or two example pleadings, since the DAP complaints are essentially
                                                                              identical.
                                                                         26   4
                                                                                ECF Nos. 2377-4 ("DAP Opp'n to TC") (filed under seal), 2378-4
                                                                         27   ("DAP Opp'n to TSA") (filed under seal), 2286 ("Sharp Opp'n to
                                                                              TC"), 2289-4 ("Sharp Opp'n to TSA") (filed under seal), 2317 ("TC
                                                                         28   Reply Sharp"), 2319 ("TSA Reply Sharp"), 2397 ("TC Reply DAP"),
                                                                              2398-4 ("TSA Reply DAP") (filed under seal).


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                                                                          1 II.       BACKGROUND
                                                                          2           As it must on a motion to dismiss, the Court takes all of the
                                                                          3   following allegations as true.
                                                                          4           Thomson SA is a French holding company with its principal
                                                                          5   place of business in Issy-les-Moulineaux, France.             Sharp FAC ¶ 71;
                                                                          6   Office Depot FAC ¶ 23.        Thomson SA "sold its CRTs internally to its
                                                                          7   television-manufacturing division, which had plants in the United
                                                                          8   States and Mexico, and to other television manufacturers in the
                                                                          9   United States and elsewhere."         Id.    Thomson SA sold its CRT
                                                                         10   business in 2005, but Sharp alleges that between March 1, 1995, and
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                                                                         11   December 2007 (the "Relevant Period"), Thomson SA "manufactured,
                                                                         12   marketed, sold and/or distributed [products containing CRTs ("CRT
                                                                         13   Products")] either directly or through its subsidiaries or
                                                                         14   affiliates throughout the United States."            Id.   Further, after
                                                                         15   selling its CRT business to defendant and alleged co-conspirator
                                                                         16   Videocon Industries, Ltd. ("Videocon"), Thomson SA remained in a
                                                                         17   close working relationship with Videocon.            Id.   Under this
                                                                         18   relationship, Thomson SA helped Videocon set up and run its CRT
                                                                         19   business, had a seat on Videocon's board, maintained at least a 10
                                                                         20   percent ownership stake in Videocon during the Relevant Period, and
                                                                         21   used Videocon and other subsidiaries or affiliates to manufacture,
                                                                         22   market, sell, or distribute CRT Products directly or indirectly
                                                                         23   throughout the United States.         Id.
                                                                         24           Defendant Thomson Consumer Electronics Corporation 5 is a
                                                                         25   wholly owned United States-based subsidiary of Thomson SA, through
                                                                         26   5
                                                                                Plaintiffs sometimes refer to Thomson SA and Thomson Consumer
                                                                         27   collectively as "Thomson," but since resolution of this motion
                                                                              requires the Court to evaluate the two entities' relationships and
                                                                         28   connections to this jurisdiction, the Court refers to them
                                                                              separately.


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                                                                          1   which Thomson SA manufactured CRTs.       Sharp FAC ¶ 72; Office Depot
                                                                          2   FAC ¶ 24.   Plaintiffs contend that "[Thomson SA] dominated and/or
                                                                          3   controlled the finances, policies, and/or affairs of [Thomson
                                                                          4   Consumer] relating to the antitrust violations alleged in [the
                                                                          5   complaints]."    Sharp FAC ¶ 72; Office Depot FAC ¶ 25.         Thomson
                                                                          6   Consumer is based in Indiana, and its CRT plants were located in
                                                                          7   Pennsylvania and Indiana.      Sharp FAC ¶ 72.     Videocon bought those
                                                                          8   plants, and as stated above, Plaintiffs contend that Thomson
                                                                          9   Consumer and Thomson SA worked together, using Videocon, to
                                                                         10   continue the CRT conspiracy in the United States after 2004.            See
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                                                                         11   Office Depot FAC ¶¶ 23-27; Sharp FAC ¶¶ 71-75.
                                                                         12        Plaintiffs sued the Thomson Defendants under federal and state
                                                                         13   antitrust laws.    They allege that Thomson SA fixed prices on CRTs
                                                                         14   that its subsidiary Thomson Consumer sold in the United States.
                                                                         15   Plaintiffs allege specifically that Thomson SA was never merely a
                                                                         16   holding company or corporate shell, but rather that it had
                                                                         17   controlling roles in its subsidiaries, exercising central
                                                                         18   management functions over them, and that it derived between 40 and
                                                                         19   50 percent of its revenue from the United States, which Thomson
                                                                         20   SA's CEO called "[Thomson SA's] most important market."             See Sharp
                                                                         21   FAC ¶ 73; Electrograph FAC ¶ 39; Office Depot FAC ¶¶ 23-26.
                                                                         22   Further, Plaintiffs assert that Thomson SA's management and board
                                                                         23   of directors set its and Thomson Consumer's direction, oversaw
                                                                         24   United States profits and losses for Thomson Consumer's CRT
                                                                         25   businesses, and planned and approved business decisions relating to
                                                                         26   the United States.     Id.   Plaintiffs refer to five senior executives
                                                                         27   who transitioned between executive and board roles with Thomson SA
                                                                         28   and Thomson Consumer between 1997 and the present.          Id.     Plaintiffs



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                                                                          1   also state that other Thomson SA "Executive Officers" had
                                                                          2   operational responsibilities in the United States, being based out
                                                                          3   of Thomson Consumer's offices despite purportedly being employees
                                                                          4   of Thomson SA.    Id.
                                                                          5        Plaintiffs also allege that between 1995 and 2005, "Thomson" -
                                                                          6   - referring jointly to Thomson SA and Thomson Consumer --
                                                                          7   participated in numerous CRT-price-fixing meetings in the United
                                                                          8   States and abroad.      Sharp FAC ¶ 196; Office Depot FAC ¶ 138;
                                                                          9   Electrograph FAC ¶ 152.     Only Thomson Consumer attended some of
                                                                         10   these meetings, but Sharp notes that Thomson SA's employees met
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                                                                         11   with other alleged co-conspirators to discuss price-fixing among
                                                                         12   various parties, that some of these discussions concerned the
                                                                         13   United States CRT market, and that Thomson SA participated in
                                                                         14   numerous confidential meetings allegedly related to the CRT
                                                                         15   conspiracy in Europe.     Id.
                                                                         16        Both Thomson Defendants move to dismiss on laches, statutes of
                                                                         17   limitations, and pleading grounds.        Thomson SA also moves to
                                                                         18   dismiss for lack of personal jurisdiction.         With its jurisdictional
                                                                         19   motions, Thomson SA files several declarations and exhibits stating
                                                                         20   (among other things) that Thomson SA is purely a holding company,
                                                                         21   with no operations, offices, employees, property, books, records,
                                                                         22   bank accounts, agents, registrations, or business activities in the
                                                                         23   United States.    ECF Nos. 2235-1 ("Roberts Decl.") Exs. 1-6 (copies
                                                                         24   of annual reports, declarations, affidavits, and orders from other
                                                                         25   courts), 2355-8 ("Roberts Decl. DAP") Exs. 1-6 (same as Sharp
                                                                         26   case). The declarations, exhibits, and affidavits also assert that
                                                                         27   Thomson SA has never manufactured CRTs or CRT Products in the
                                                                         28   United States or elsewhere, and that Thomson SA and Thomson



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                                                                          1   Consumer maintain separate corporate structures, offices, finances,
                                                                          2   and business activities.      According to the declaration, Thomson
                                                                          3   Consumer -- over which the Court undisputedly has jurisdiction --
                                                                          4   was solely responsible for CRT sales, marketing, and pricing in the
                                                                          5   United States.
                                                                          6           Sharp asserts claims under Section 1 of the Sherman Act, 15
                                                                          7   U.S.C. et seq.; the California Cartwright Act, Cal. Bus. & Prof.
                                                                          8   Code § 16700 et seq.; the California Unfair Competition Law
                                                                          9   ("UCL"), Cal. Bus. & Prof. Code § 17200 et seq.; New York's
                                                                         10   Donnelly Act, N.Y. Gen. Bus. L. § 340 et seq.; the New York Unfair
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                                                                         11   Competition Law ("UCL"), N.Y. Gen. Bus. L. § 349 et seq.; the New
                                                                         12   Jersey Antitrust Act, N.J. Stat. § 56:9-1 et seq.; and the
                                                                         13   Tennessee Antitrust Act, Tenn. Code Ann. § 47-25-101 et seq.         All
                                                                         14   of Sharp's claims are subject to four-year statutes of limitations,
                                                                         15   except the New York UCL and the Tennessee Antitrust Act, which have
                                                                         16   three-year statutes of limitations.
                                                                         17           The DAPs are a group of opt-out plaintiffs alleging the same
                                                                         18   essential facts described above.       See, e.g., Electrograph FAC ¶¶ 1,
                                                                         19   125-181, 152-55, 188-90, 234-38 (providing a representative DAP
                                                                         20   pleading).    The primary difference between their actions and
                                                                         21   Sharp's case is that they filed their complaints in November 2011
                                                                         22   (without naming either Thomson Defendant), later located additional
                                                                         23   evidence implicating Thomson Consumer, and sought to amend their
                                                                         24   complaints adding Thomson Consumer on March 26, 2013, a motion the
                                                                         25   Court denied primarily for insufficient facts on September 26,
                                                                         26   2013.    ECF No. 1959 ("Order Denying Amendment").        The Court had
                                                                         27   found that, given the DAPs' paucity of allegations supporting their
                                                                         28   claims, it would have been a prejudicial waste to add Thomson



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                                                                          1   Consumer to the case.     Id.   The DAPs filed complaints adding, among
                                                                          2   other entities, the Thomson Defendants on November 11-13, 2013, and
                                                                          3   some DAPs amended their complaints on December 20, 2013.            The DAPs
                                                                          4   now add substantially more detail to their pleadings, some of which
                                                                          5   comes from defendants who settled in late 2013.          The Thomson
                                                                          6   Defendants moved to dismiss the new DAP complaints on January 27,
                                                                          7   2014.    The DAPs assert a variety of causes of action against the
                                                                          8   Thomson Defendants, including federal and state claims that largely
                                                                          9   overlap with Sharp's, with additional state claims from Kansas,
                                                                         10   Michigan, and Minnesota.      The DAPs' allegations (and the parties'
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                                                                         11   arguments concerning them) overlap substantially with Sharp's, and
                                                                         12   where they do not, the Court notes any relevant distinctions.
                                                                         13
                                                                         14   III. LEGAL STANDARD
                                                                         15           A.   Jurisdiction - Rule 12(b)(2)
                                                                         16           Under Rule 12(b)(2) of the Federal Rules of Civil Procedure,
                                                                         17   defendants may move to dismiss for lack of personal jurisdiction.
                                                                         18   The Court may consider evidence presented in affidavits and
                                                                         19   declarations determining personal jurisdiction.          Doe v. Unocal
                                                                         20   Corp., 248 F.3d 915, 922 (9th Cir. 2001).         The plaintiff bears the
                                                                         21   burden of showing that the Court has personal jurisdiction over
                                                                         22   defendants.    See Pebble Beach Co. v. Caddy, 453 F.3d 1151, 1154
                                                                         23   (9th Cir. 2006).    "[T]his demonstration requires that the plaintiff
                                                                         24   make only a prima facie showing of jurisdictional facts to
                                                                         25   withstand the motion to dismiss."         Id. (quotations omitted).
                                                                         26   "[T]he court resolves all disputed facts in favor of the plaintiff
                                                                         27   . . . ."     Id. (quotations omitted).     "The plaintiff cannot simply
                                                                         28   rest on the bare allegations of its complaint, but uncontroverted



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                                                                          1   allegations in the complaint must be taken as true."          Mavrix Photo,
                                                                          2   Inc. v. Brand Techs., Inc., 647 F.3d 1218, 1223 (9th Cir. 2011)
                                                                          3   (quotations and citations omitted).       The Court may not assume the
                                                                          4   truth of allegations that are contradicted by affidavit.             Data
                                                                          5   Disc, Inc. v. Sys. Tech. Assocs., Inc., 557 F.2d 1280, 1284 (9th
                                                                          6   Cir. 1977).
                                                                          7         Courts may exercise personal jurisdiction over a defendant
                                                                          8   only if (1) a statute confers jurisdiction and (2) exercising
                                                                          9   jurisdiction would comport with constitutional due process.             See
                                                                         10   Action Embroidery Corp. v. Atlantic Embroidery, Inc., 368 F.3d
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                                                                         11   1174, 1177 (9th Cir. 2004).      Since the federal Clayton Act, 15
                                                                         12   U.S.C. § 22, fulfills the statutory requirement for jurisdiction in
                                                                         13   this case, the question on this motion is whether exercising
                                                                         14   jurisdiction would comport with due process.         For a court to
                                                                         15   exercise personal jurisdiction over a non-resident defendant
                                                                         16   consistent with due process, the defendant must have "certain
                                                                         17   minimum contacts" with the relevant forum "such that the
                                                                         18   maintenance of the suit does not offend 'traditional notions of
                                                                         19   fair play and substantial justice.'"        Int'l Shoe Co. v. Washington,
                                                                         20   326 U.S. 310, 316 (1945) (quoting Milliken v. Meyer, 311 U.S. 457,
                                                                         21   463 (1940)).   If a defendant has sufficient minimum contacts,
                                                                         22   personal jurisdiction may be founded on either general jurisdiction
                                                                         23   or specific jurisdiction.      Panavision Int'l, L.P. v. Toeppen, 141
                                                                         24   F.3d 1316, 1320 (9th Cir. 1998).       The relevant forum for this
                                                                         25   case's minimum contacts analysis is the United States.              Go-Video,
                                                                         26   Inc. v. Akai Elec. Co. Ltd., 885 F.2d 1406, 1415-16 (9th Cir.
                                                                         27   1989).
                                                                         28   ///



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                                                                          1         B.     Failure to State a Claim - Rule 12(b)(6)
                                                                          2         A motion to dismiss under Federal Rule of Civil Procedure
                                                                          3   12(b)(6) "tests the legal sufficiency of a claim."          Navarro v.
                                                                          4   Block, 250 F.3d 729, 732 (9th Cir. 2001).         "Dismissal can be based
                                                                          5   on the lack of a cognizable legal theory or the absence of
                                                                          6   sufficient facts alleged under a cognizable legal theory."
                                                                          7   Balistreri v. Pacifica Police Dep't, 901 F.2d 696, 699 (9th Cir.
                                                                          8   1988).     "When there are well-pleaded factual allegations, a court
                                                                          9   should assume their veracity and then determine whether they
                                                                         10   plausibly give rise to an entitlement to relief."          Ashcroft v.
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                                                                         11   Iqbal, 556 U.S. 662, 679 (2009).       However, "the tenet that a court
                                                                         12   must accept as true all of the allegations contained in a complaint
                                                                         13   is inapplicable to legal conclusions.        Threadbare recitals of the
                                                                         14   elements of a cause of action, supported by mere conclusory
                                                                         15   statements, do not suffice."      Id. (citing Bell Atl. Corp. v.
                                                                         16   Twombly, 550 U.S. 544, 555 (2007)).
                                                                         17         Claims sounding in fraud are subject to the heightened
                                                                         18   pleading requirements of Federal Rule of Civil Procedure 9(b),
                                                                         19   which requires that a plaintiff alleging fraud "must state with
                                                                         20   particularity the circumstances constituting fraud."          See Kearns v.
                                                                         21   Ford Motor Co., 567 F.3d 1120, 1124 (9th Cir. 2009).          "To satisfy
                                                                         22   Rule 9(b), a pleading must identify the who, what, when, where, and
                                                                         23   how of the misconduct charged, as well as what is false or
                                                                         24   misleading about [the purportedly fraudulent] statement, and why it
                                                                         25   is false."    United States ex rel Cafasso v. Gen. Dynamics C4 Sys.,
                                                                         26   Inc., 637 F.3d 1047, 1055 (9th Cir. 2011) (quotation marks and
                                                                         27   citations omitted).
                                                                         28   ///



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                                                                          1 IV.     THOMSON SA'S MOTION TO DISMISS THE SHARP COMPLAINT
                                                                          2         A.     Personal Jurisdiction
                                                                          3         There are two forms of personal jurisdiction: "specific" and
                                                                          4   "general."    "A court may exercise specific jurisdiction where the
                                                                          5   cause of action arises out of or has a substantial connection to
                                                                          6   the defendant's contacts with the forum."        Glencore Grain Rotterdam
                                                                          7   B.V. v. Shivnath Rai Harnarain Co., 284 F.3d 1114, 1123 (9th Cir.
                                                                          8   2002) (citing Hanson v. Denckla, 357 U.S. 235, 251 (1958)).
                                                                          9   "Alternatively, a defendant whose contacts are substantial,
                                                                         10   continuous, and systematic is subject to a court's general
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                                                                         11   jurisdiction even if the suit concerns matters not arising out of
                                                                         12   his contact with the forum."      Id. (citing Helicopteros Nacionales
                                                                         13   de Colombia, S.A. v. Hall, 466 U.S. 408, 415 n.9 (1984)).
                                                                         14         Thomson SA argues that the Court lacks either general or
                                                                         15   specific jurisdiction over it.       Before Sharp filed an amended
                                                                         16   complaint, Thomson SA had moved to dismiss on jurisdictional
                                                                         17   grounds and Sharp, opposing that motion but working with a somewhat
                                                                         18   bare pleading, had relied primarily on an agency theory of
                                                                         19   jurisdiction premised on the relationship between Thomson SA and
                                                                         20   Thomson Consumer.    Now Sharp has added facts to its complaint, and
                                                                         21   also asserts more targeted arguments, mainly in support of a
                                                                         22   specific jurisdiction finding.       As discussed below, the Court finds
                                                                         23   that Sharp has pled facts supporting a finding of specific
                                                                         24   jurisdiction, and Thomson SA's responses fail to controvert Sharp's
                                                                         25   pleadings.    The Court does not address general jurisdiction or
                                                                         26   Sharp's alternative motion for jurisdictional discovery in this
                                                                         27   Order.
                                                                         28   ///



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                                                                          1           i.      Specific Jurisdiction
                                                                          2        Courts may exercise specific personal jurisdiction depending
                                                                          3   on "the nature and quality of the defendant's contacts in relation
                                                                          4   to the cause of action."     Data Disc, 557 F.2d at 1287.       The Ninth
                                                                          5   Circuit applies a three-prong test when analyzing a claim of
                                                                          6   specific jurisdiction:
                                                                          7
                                                                                   (1) The non-resident defendant must purposefully
                                                                          8        direct his activities or consummate some transaction
                                                                                   with the forum or resident thereof; or perform some
                                                                          9        act by which he purposefully avails himself of the
                                                                                   privilege of conducting activities in the forum,
                                                                         10        thereby invoking the benefits and protections of its
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                                                                                   laws;
                                                                         11
                                                                                   (2) the claim must be one which arises out of or
                                                                         12        relates to the defendant's forum-related activities;
                                                                                   and
                                                                         13
                                                                                   (3) the exercise of jurisdiction must comport with
                                                                         14        fair play and substantial justice, i.e. it must be
                                                                                   reasonable.
                                                                         15
                                                                         16   Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 802 (9th
                                                                         17   Cir. 2004).   The plaintiff bears the burden of satisfying the first
                                                                         18   two prongs, and if he or she fails to satisfy either, specific
                                                                         19   jurisdiction is not established.      Sher v. Johnson, 911 F.2d 1357,
                                                                         20   1361 (9th Cir. 1990).     If the plaintiff satisfies these prongs, the
                                                                         21   burden shifts to the defendant "to present a compelling case" that
                                                                         22   the exercise of jurisdiction would not be reasonable.          Burger King
                                                                         23   Corp. v. Rudzewicz, 471 U.S. 462, 477 (1985).
                                                                         24        Sharp argues that the Court has specific jurisdiction over
                                                                         25   Thomson SA because (1) Thomson SA purposefully directed its CRT
                                                                         26   conspiracy activity at the United States and (2) Sharp's claims
                                                                         27   arise out of Thomson SA's conspiracy activity in the United States.
                                                                         28   Sharp also contends that exercising personal jurisdiction over



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                                                                          1   Thomson SA would be reasonable.      Thomson SA opposes all of these
                                                                          2   points.
                                                                          3        The Ninth Circuit applies a three-part test for purposeful
                                                                          4   direction: "the defendant allegedly must have (1) committed an
                                                                          5   intentional act, (2) expressly aimed at the forum state, (3)
                                                                          6   causing harm that the defendant knows is likely to be suffered in
                                                                          7   the forum state."     Id.   When considering the first prong,
                                                                          8   "something more than mere foreseeability" of an effect in the forum
                                                                          9   state is necessary.    Schwarzenegger, 374 F.3d at 805 (internal
                                                                         10   citation and quotation omitted).      And as the Ninth Circuit has
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                                                                         11   warned, "the foreign-acts-with-forum-effects jurisdictional
                                                                         12   principle must be applied with caution, particularly in an
                                                                         13   international context."      Kramer Motors, Inc. v. British Leyland,
                                                                         14   Ltd., 628 F.2d 1175, 1178 (9th Cir. 1980) (internal quotations and
                                                                         15   citations omitted).    The parties do not argue the first prong --
                                                                         16   that Thomson SA committed some intentional act -- but they do
                                                                         17   dispute whether Sharp has established that Thomson SA purposefully
                                                                         18   directed activities at the United States and that Sharp's claims
                                                                         19   against Thomson SA arose out of, or result from, Thomson SA's
                                                                         20   forum-related activities.
                                                                         21        An antitrust defendant "expressly aims" an intentional act at
                                                                         22   a forum state when its allegedly anticompetitive behavior is
                                                                         23   targeted at a resident of the forum, or at the forum itself.        See
                                                                         24   In re W. States Wholesale Natural Gas Antitrust Litig., 715 F.3d
                                                                         25   716, 743 (9th Cir. 2013).      Sharp alleges that Thomson SA oversaw
                                                                         26   worldwide sales of CRTs to the United States, and also that in
                                                                         27   2003, Thomson SA's worldwide general manager for marketing and
                                                                         28   sales negotiated with one of Sharp's subsidiaries' managers



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                                                                          1   regarding Thomson SA's sales of CRTs to a Sharp subsidiary in the
                                                                          2   United States.   Sharp FAC ¶ 73.     Sharp also pleads that Thomson SA
                                                                          3   was involved in CRT production and pricing discussions relating to
                                                                          4   Mexican-made CRTs sold in the North American market, though it is
                                                                          5   unclear whether these CRTs were meant for sale in the United
                                                                          6   States.   Id.   Further, Sharp provides a list of meetings in which
                                                                          7   Thomson SA allegedly took part, some of which explicitly concerned
                                                                          8   price-fixing agreements between Thomson SA and other alleged co-
                                                                          9   conspirators concerning the sales of CRT Products in the United
                                                                         10   States.   Id. ¶ 196.   Thomson SA's declarations do not controvert
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                                                                         11   these pleadings.    They concern primarily issues of general
                                                                         12   jurisdiction, like the corporate relationship between Thomson SA
                                                                         13   and Thomson Consumer, but they do not controvert Sharp's facts and
                                                                         14   pleadings regarding Thomson SA's United States-targeted activity.
                                                                         15   As to this prong, Thomson SA argues that it did not make or sell
                                                                         16   CRTs in the United States, and that many of Sharp's pleadings
                                                                         17   concern the ambiguous "Thomson" entity instead of Thomson SA or
                                                                         18   Thomson Consumer specifically.
                                                                         19        Defendant fails to rebut Sharp's contentions on this issue.
                                                                         20   In a multinational price-fixing conspiracy like the one at issue in
                                                                         21   this case, defendants do not have to make the price-fixed product
                                                                         22   themselves within the bounds of the forum state in order for the
                                                                         23   state to have jurisdiction.      They only have to target intentional
                                                                         24   acts (e.g., price-fixing activities) toward the forum state,
                                                                         25   knowing the effects of the activity will be felt there.             In re W.
                                                                         26   States, 715 F.3d at 743; see also Wash. Shoe Co. v. A-Z Sporting
                                                                         27   Goods Inc., 704 F.3d 668, 673 (9th Cir. 2012).         Thomson SA's
                                                                         28   briefing on this issue largely misses the point or misreads Sharp's



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                                                                          1   pleadings.   It makes some valid points about the FAC's occasional
                                                                          2   reference to "Thomson" instead of Thomson SA or Thomson Consumer
                                                                          3   individually -- a confusing move when it has not been definitively
                                                                          4   established that they are effectively the same entity -- but
                                                                          5   Thomson SA never directly addresses the fact that Sharp actually
                                                                          6   pleads Thomson SA's direct involvement in price-fixing discussions
                                                                          7   concerning products actually sold to and purchased in the United
                                                                          8   States.   See TSA MTD Sharp at 12-13; TSA Reply Sharp at 4.
                                                                          9        The Court is not persuaded by Thomson SA's argument that it is
                                                                         10   equally plausible that some of these meetings related to European
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                                                                         11   CRT operations.   Sharp has pled that those meetings were
                                                                         12   specifically related to the United States CRT market.          Moreover,
                                                                         13   given the size of the North American market and, as this Court has
                                                                         14   discussed numerous times, the fact that worldwide CRT effects could
                                                                         15   have direct and known effects in the United States as a result of
                                                                         16   an anticompetitive market, it is not plausible to argue that
                                                                         17   Thomson SA's alleged discussions with huge, multinational CRT
                                                                         18   business partners were somehow structured to avoid directing any
                                                                         19   price-fixing activity to the United States, which all parties agree
                                                                         20   was one of the largest CRT markets.       Thomson SA frequently cites
                                                                         21   the Court's now-withdrawn order on Thomson SA's previous motion to
                                                                         22   dismiss Sharp's complaint, but that complaint did not include the
                                                                         23   present pleadings that Thomson SA fails to controvert or address.
                                                                         24        Thomson SA cites Bancroft & Masters, Inc. v. Augusta National,
                                                                         25   Inc., 223 F.3d 1082, 1087 (9th Cir. 2000), for the proposition that
                                                                         26   express aiming requires more than a broad allegation that a foreign
                                                                         27   act has foreseeable effects in the forum state, but again that is
                                                                         28   not what Sharp asserts in this case.       Sharp pled that Thomson SA



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                                                                          1   had actual discussions with Sharp agents about CRT sales to the
                                                                          2   United States, while at the same time Thomson SA was engaged in
                                                                          3   price-fixing discussions with other co-conspirators.          This is not
                                                                          4   merely a foreseeable effect, and Thomson SA's contention that it
                                                                          5   did not manufacture or sell CRTs in the United States itself does
                                                                          6   not change the fact that Sharp has pled that Thomson SA expressly
                                                                          7   aimed price-fixing activity at the United States.
                                                                          8        Regarding the last prong of specific jurisdiction analysis,
                                                                          9   Sharp must make a prima facie showing that Thomson SA's United
                                                                         10   States-directed actions were a "but-for" cause of its claims.
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                                                                         11   Bancroft & Masters, 223 F.3d at 1088; Unocal, 248 F.3d at 924.
                                                                         12   This "but-for" test requires "some nexus between the cause of
                                                                         13   action and the defendant's activities in the forum."          Shute v.
                                                                         14   Carnival Cruise Lines, 897 F.2d 377, 387 (9th Cir. 1988), overruled
                                                                         15   on other grounds, 499 U.S. 585 (1991).        Thomson SA argues that if
                                                                         16   Sharp cannot establish that Thomson SA aimed any intentional acts
                                                                         17   at the United States, it cannot meet this prong, so the Court
                                                                         18   cannot find specific jurisdiction.        TSA MTD Sharp at 14; TSA Reply
                                                                         19   Sharp at 4.   As noted above, the Court finds that Sharp satisfies
                                                                         20   the "intentional acts" prong, so Thomson SA's argument is
                                                                         21   inapposite.   Moreover, Sharp has established that its claims arise
                                                                         22   out of Thomson SA's activities in the forum.         Sharp bought CRTs in
                                                                         23   the United States from Thomson SA's affiliates, subsidiaries, or
                                                                         24   co-conspirators, and it alleges that Thomson SA fixed the prices of
                                                                         25   CRTs that its subsidiaries sold.
                                                                         26        The Court finds that Sharp has met the standard for specific
                                                                         27   jurisdiction.   The next issue is whether exercising jurisdiction
                                                                         28   would be reasonable.    Thomson SA argues that it would not be.          In



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                                                                          1   determining whether the exercise of jurisdiction over a foreign
                                                                          2   defendant would be reasonable, the Court must consider seven
                                                                          3   factors:
                                                                          4        (1)   the   extent   of   the   defendant's   purposeful
                                                                                   interjection into the forum state, (2) the burden on the
                                                                          5        defendant in defending in the forum, (3) the extent of
                                                                                   the conflict with the sovereignty of the defendant's
                                                                          6        state, (4) the forum state's interest in adjudicating
                                                                                   the dispute, (5) the most efficient judicial resolution
                                                                          7        of the controversy, (6) the importance of the forum to
                                                                                   the plaintiff's interest in convenient and effective
                                                                          8        relief, and (7) the existence of an alternative forum.
                                                                          9   Bancroft & Masters, 223 F.3d at 1088 (citing Burger King, 471 U.S.
                                                                         10   at 476-77).   It is the defendant's burden to demonstrate
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                                                                         11   unreasonableness.    Id. at 1088.
                                                                         12        Thomson SA argues that the burden imposed on it outweighs
                                                                         13   other concerns.     TSA MTD Sharp at 15 (citing Terracom v. Valley
                                                                         14   Nat'l Bank, 49 F.3d 555, 561 (9th Cir. 1995); Menken v. Emm, 503
                                                                         15   F.3d 1050, 1061 (9th Cir. 2007)).         On this point, Thomson SA
                                                                         16   contends that it would hold a significant burden in such a
                                                                         17   complicated case, that many documents related to its now-sold CRT
                                                                         18   business would be in France, that it would have to contend with
                                                                         19   French criminal laws related to evidence used in foreign judicial
                                                                         20   proceedings, and that exercising jurisdiction over it would raise
                                                                         21   concerns regarding French sovereignty.
                                                                         22        The Court agrees that Thomson SA's burden would be
                                                                         23   substantial, but the inconvenience for Thomson SA must be so great
                                                                         24   as to constitute a deprivation of due process.         See Panavision, 141
                                                                         25   F.3d at 1323.   The Court does not find Thomson SA's arguments on
                                                                         26   this point to rise to that level.         Costliness and evidentiary
                                                                         27   complexity are simply parts of modern, multinational litigation;
                                                                         28   foreign litigants must always deal with their home states' laws;



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                                                                          1   and if vague concerns about foreign sovereignty always outweighed
                                                                          2   the merits of finding jurisdiction over a foreign defendant, it is
                                                                          3   unlikely that a foreign corporation would ever be successfully sued
                                                                          4   here.    True, if Thomson SA lacked any contacts with the United
                                                                          5   States at all, and this forum had no interest whatsoever in hearing
                                                                          6   this dispute, holding Thomson SA accountable in the United States
                                                                          7   would raise due process concerns, but the Court finds that none of
                                                                          8   those factors exist now.
                                                                          9           Nor is the Court convinced by Thomson SA's other arguments on
                                                                         10   these points.    First, as noted above, the Court has found that
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                                                                         11   Thomson SA purposefully interjected its activities into the United
                                                                         12   States when in negotiated with Sharp's subsidiaries for the sale of
                                                                         13   CRTs in the United States market, even if Thomson SA's involvement
                                                                         14   in various price-fixing meetings did not rise to that level (which
                                                                         15   it does).
                                                                         16           Second, the fact that Thomson SA's stock was owned by the
                                                                         17   French government in 1999 does not raise sovereignty concerns
                                                                         18   substantial enough to find jurisdiction unreasonable.          Thomson SA
                                                                         19   does not explain how pre-1999 corporate ownership actually affects
                                                                         20   Sharp's claims at the present time.       Moreover, in this context it
                                                                         21   is important to note that the Court's exercise of jurisdiction here
                                                                         22   is a limited form of jurisdiction -- specific jurisdiction -- and
                                                                         23   not general jurisdiction, so concerns about Thomson SA's exposure
                                                                         24   to litigation (and the sovereignty concerns that entails) are more
                                                                         25   limited.    See Gates Learjet Corp. v. Jensen, 743 F.2d 1325, 1333
                                                                         26   (9th Cir. 1984); Sinatra v. Nat'l Enquirer, Inc., 854 F.2d 1191,
                                                                         27   1200 (9th Cir. 1988).
                                                                         28



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                                                                          1           Third, exercising jurisdiction over Thomson SA would not be
                                                                          2   inefficient merely because Thomson Consumer is undisputedly within
                                                                          3   the Court's jurisdiction too.          Both entities can be, and it is not
                                                                          4   plausible that a wealthy, multinational corporation like Thomson SA
                                                                          5   would be somehow overstressed at litigating one case, based on
                                                                          6   specific jurisdiction, in the United States.             Even evaluated
                                                                          7   asymmetrically, with Thomson SA's burden being accorded the highest
                                                                          8   value in this analysis, the Court finds that Thomson SA fails to
                                                                          9   meet its burden to show unreasonableness.            Exercising specific
                                                                         10   jurisdiction is reasonable in this case.
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                                                                         11           B.        Thomson SA's Other Arguments
                                                                         12           Thomson SA argues that even if the Court has jurisdiction over
                                                                         13   it, the Court should dismiss some or all of Sharp's claims because
                                                                         14   (1) they are time-barred under various statutes of limitations, (2)
                                                                         15   they are barred by the doctrine of laches, and (3) they otherwise
                                                                         16   fail to state cognizable claims. 6
                                                                         17                i.        Statutes of Limitation
                                                                         18           Sharp filed this opt-out case in March 2013.          Thomson SA left
                                                                         19   the CRT industry in 2005, and the Court has held that parties to
                                                                         20   this case knew or should have known of the possibility of bringing
                                                                         21   suit by November 2007, when various governments issued press
                                                                         22   releases concerning the CRT price-fixing conspiracy and lawsuits
                                                                         23   were filed around the world.          Sharp must therefore account for the
                                                                         24   gap between potential limitations dates and its filing of this
                                                                         25   suit, because all of its claims are subject to three- or four-year
                                                                         26   6
                                                                                Thomson SA incorporates by reference portions Thomson Consumer's
                                                                         27   motion to dismiss on these issues, TSA MTD Sharp 17 n.3, and Sharp
                                                                              incorporates by reference its opposition brief from that matter.
                                                                         28   The Thomson Defendants and the DAPs do the same cross-incorporation
                                                                              of briefs in their case as well.


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                                                                          1   statutes of limitations.     Sharp argues that Thomson SA's withdrawal
                                                                          2   argument fails, that fraudulent concealment tolls at least part of
                                                                          3   the relevant limitations periods, that related class-action suits
                                                                          4   toll its claims under American Pipe, and that governmental-action
                                                                          5   tolling applies to some of its other claims.
                                                                          6                   a.    Withdrawal
                                                                          7        Thomson SA argues that the statutes of limitation on Sharp's
                                                                          8   claims began to run in July 2005, when Thomson SA sold its CRT
                                                                          9   assets.   TSA Reply Sharp at 9.     It notes that, per Sharp's
                                                                         10   pleadings, it sold its CRT assets and transferred related employees
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                                                                         11   to Videocon at that time, after which Thomson SA retained an equity
                                                                         12   investment as a minority shareholder in Videocon.         Id. at 11
                                                                         13   (citing Sharp FAC ¶ 75).     After that, according to Thomson SA,
                                                                         14   Sharp pleads nothing plausibly suggesting that Thomson SA
                                                                         15   participated in CRT- or conspiracy-related activities anywhere in
                                                                         16   the world, and the latest CRT-related action Thomson SA took
                                                                         17   allegedly occurred in Europe in November 2004, still beyond the
                                                                         18   statutory period.    Id. (citing Sharp FAC ¶ 196).
                                                                         19        Sharp maintains that the issue of withdrawal is irrelevant
                                                                         20   because even if Thomson SA had withdrawn from the conspiracy in
                                                                         21   2005, the fact that the conspiracy remained concealed until at
                                                                         22   least November 2007 means that fraudulent concealment could still
                                                                         23   apply to toll Sharp's claims.      Sharp notes that in Thomson SA's
                                                                         24   motion, it relies on a superseded version of the Eleventh Circuit
                                                                         25   case Morton's Market, Inc. v. Gustafson's Dairy, Inc., 198 F.3d 823
                                                                         26   (11th Cir. 1999), amended by 211 F.3d 1224 (2000).          Thomson SA
                                                                         27   cites the earlier, pre-amendment version of Morton's Market, in
                                                                         28   which the Eleventh Circuit had held without qualification that



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                                                                          1   claims against a defendant that "effectively withdrew" from the
                                                                          2   conspiracy prior to the limitations period, because it had sold all
                                                                          3   of its interests in the allegedly price-fixed industry.             198 F.3d
                                                                          4   at 837, 839.   The Eleventh Circuit amended its opinion, however, to
                                                                          5   state that filings as to that defendant were untimely unless the
                                                                          6   statute of limitations were tolled by fraudulent concealment, in
                                                                          7   which case the defendant would be liable for pre-withdrawal price-
                                                                          8   fixing activity.    211 F.3d at 1224.
                                                                          9         This conclusion is in line with the way this Court has treated
                                                                         10   the matter of withdrawal at this posture.        Generally, it is a fact-
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                                                                         11   sensitive affirmative defense, and even if a defendant argues that
                                                                         12   it had withdrawn from the conspiracy at the relevant time, it could
                                                                         13   still be liable for its pre-withdrawal price-fixing activity if the
                                                                         14   plaintiff adequately pled fraudulent concealment.         See In re Rubber
                                                                         15   Chems. Antitrust Litig., 504 F. Supp. 2d 777, 788 (N.D. Cal. 2007);
                                                                         16   In re Cathode Ray Tube (CRT) Antitrust Litig., No. C-07-5944-SC,
                                                                         17   2013 WL 4505701, at *7 (N.D. Cal. Aug. 21, 2013).         Based on the
                                                                         18   record, the Court cannot find that Thomson SA had actually
                                                                         19   withdrawn from the conspiracy in 2005, because the full extent of
                                                                         20   Thomson SA's relationships with Videocon and Tech Displays remains
                                                                         21   somewhat unclear, and it is not possible for the Court to find at
                                                                         22   this time that Thomson SA had completely withdrawn from the
                                                                         23   conspiracy.    The Court therefore finds it inappropriate to dismiss
                                                                         24   Sharp's claims based on Thomson SA's alleged withdrawal from the
                                                                         25   conspiracy at this time, turning instead to the question of whether
                                                                         26   Sharp has adequately pled fraudulent concealment in its FAC.
                                                                         27   ///
                                                                         28   ///



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                                                                          1                   b.    Fraudulent Concealment
                                                                          2        The doctrine of fraudulent concealment focuses on actions that
                                                                          3   a defendant took to prevent a plaintiff from learning of grounds
                                                                          4   for filing a suit.    See Lukovsky v. City & Cnty. of S.F., 535 F.3d
                                                                          5   1044, 1051 (9th Cir. 2008).      To invoke the doctrine, plaintiffs
                                                                          6   must allege facts demonstrating that they could not have discovered
                                                                          7   the alleged violations by exercising reasonable diligence.
                                                                          8   Rosenfeld v. JPMorgan Chase Bank N.A., 732 F. Supp. 2d 952, 964
                                                                          9   (N.D. Cal. 2010).    A fraudulent concealment claim must be alleged
                                                                         10   with particularity under Rule 9(b).       Noll v. eBay, Inc., 282 F.R.D.
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                                                                         11   462, 468 (N.D. Cal. 2012).
                                                                         12        Thomson SA contends that Sharp failed to plead with
                                                                         13   specificity that Thomson SA itself, as opposed to other defendants,
                                                                         14   affirmatively concealed its alleged participation in the
                                                                         15   conspiracy.   TSA Reply Sharp at 10 (citing Sharp FAC ¶¶ 232-37).
                                                                         16   It also argues that Sharp fails to plead that any defendant
                                                                         17   fraudulently concealed the conspiracy after Thomson SA's sale of
                                                                         18   its CRT assets in 2005, or that Sharp itself undertook any specific
                                                                         19   acts of diligence to discover potential claims.         Id. at 10-11.
                                                                         20        In context, it is clear from the entire FAC, read along with
                                                                         21   Sharp's specific allegations of conspiracy-related conduct and
                                                                         22   fraudulent concealment, that Sharp meets the pleading standard for
                                                                         23   fraudulent concealment.     Sharp pleads as to Thomson SA, for
                                                                         24   example, that on several specific dates Thomson SA held or attended
                                                                         25   meetings concerning CRT price-fixing in France, Luxembourg, and
                                                                         26   England, and that the parties to those meetings agreed to keep them
                                                                         27   secret.   See Sharp FAC ¶¶ 196, 232-49 (discussing, in part, a
                                                                         28   Thomson entity's concern about consequences if meeting information



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                                                                          1   were released in the European Union).           Elsewhere, as often
                                                                          2   discussed in this case, Sharp explains that such secret meetings
                                                                          3   have been a pattern among the alleged co-conspirators.              The Court
                                                                          4   finds these facts particular and substantial enough to indicate
                                                                          5   that Sharp has pled fraudulent concealment. 7           Accordingly, the
                                                                          6   Court finds that Sharp's claims are tolled under the doctrine of
                                                                          7   fraudulent concealment until November 14, 2007, the latest date on
                                                                          8   which the Court has found such tolling appropriate given worldwide
                                                                          9   press releases and lawsuits concerning this alleged conspiracy.
                                                                         10           With Sharp's claims tolled until November 14, 2007, Sharp must
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                                                                         11   still account for the nearly-six-year delay between November 2007
                                                                         12   and March 15, 2013, when it filed its case.
                                                                         13                       c.     American Pipe Tolling
                                                                         14           American Pipe and Construction Co. v. Utah, 414 U.S. 538
                                                                         15   (1974), held that commencement of a class action suspends the
                                                                         16   statute of limitation as to all putative members of the class up to
                                                                         17   and until class certification is denied or the plaintiff opts out
                                                                         18   of the class.       Id. at 554; Williams v. Boeing Co., 517 F.3d 1120,
                                                                         19   1135-36 (9th Cir. 2008); Emp'rs-Teamsters Local Nos. 175 & 505
                                                                         20   Pension Trust Fund v. Anchor Capital Advisors, 498 F.3d 920, 925
                                                                         21   (9th Cir. 2007).         "Tolling is fair in such a case because when the
                                                                         22   complaint is filed defendants have notice of the 'substantive
                                                                         23   claims being brought against them.'"           Williams, 517 F.3d at 1136
                                                                         24
                                                                              7
                                                                         25     The Court is not convinced by Thomson SA's arguments that Sharp
                                                                              failed to allege due diligence, since that pleading requirement is
                                                                         26   only meaningful when facts exist that would "excite the inquiry of
                                                                              a reasonable person," Conmar Corp. v. Mitsui & Co. (USA) Inc., 858
                                                                         27   F.2d 499, 504 (9th Cir. 1988), and in this case, Sharp makes clear
                                                                              that it had no notice of the existence of an alleged price-fixing
                                                                         28   conspiracy until November 2007.



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                                                                          1   (quoting Crown, Cork & Seal Co. v. Parker, 462 U.S. 345, 352-53
                                                                          2   (1983)).   "However, the tolling rule does not 'leave[] a plaintiff
                                                                          3   free to raise different or peripheral claims following denial of
                                                                          4   class status.'"   Id. at 1136 (quoting Crown, 462 U.S. at 354
                                                                          5   (Powell, J. concurring)) (alterations in original).
                                                                          6        While courts should permit tolling when a lawsuit raises
                                                                          7   claims that "concern the same evidence, memories, and witnesses as
                                                                          8   the subject matter of the original class suit," it is still
                                                                          9   important to "make certain . . . that American Pipe is not abused
                                                                         10   by the assertion of claims that differ from those raised in the
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                                                                         11   original class suit."     Crown, 462 U.S. at 354; see also In re TFT-
                                                                         12   LCD (Flat Panel) Antitrust Litig., No. M 07-1827 SI, C 12-4114 SI,
                                                                         13   2013 WL 254873, at *2 & n.3 (N.D. Cal. Jan. 13, 2013) (declining to
                                                                         14   apply American Pipe to state law claims not asserted in the
                                                                         15   original class complaint); accord In re Copper Antitrust Litig.,
                                                                         16   436 F.3d 782, 793-97 (7th Cir. 2006) (same).
                                                                         17        Sharp contends that its claims against Thomson SA are tolled
                                                                         18   under American Pipe from January 28, 2008, when two putative direct
                                                                         19   purchaser classes filed complaints against Thomson SA, until March
                                                                         20   16, 2009, when the earlier complaints were consolidated into the
                                                                         21   familiar Direct Purchaser Plaintiffs' complaint, which did not name
                                                                         22   Thomson SA as a defendant.     Sharp Opp'n at TC at 10-12.          Sharp then
                                                                         23   makes a somewhat unclear argument suggesting that tolling might
                                                                         24   extend further than March 16, 2009, because Thomson SA was
                                                                         25   potentially on notice of future liability, but it does not explain
                                                                         26   this point further or cite law supporting it.         Id. at 12.     Finally,
                                                                         27   Sharp contends that an out-of-district case, In re Linerboard
                                                                         28



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                                                                          1   Antitrust Litigation, 223 F.R.D. 335 (E.D. Pa. 2004), should apply
                                                                          2   to toll Sharp's state-law claims as well.
                                                                          3           The Court finds that American Pipe tolls Sharp's federal
                                                                          4   claims against Thomson SA between January 28, 2008, and March 16,
                                                                          5   2009, but this is only 413 days (one year, one month, and sixteen
                                                                          6   days), so Sharp is left several months to a year short of the
                                                                          7   limitations period on its federal claims.            American Pipe does not
                                                                          8   toll any of Sharp's state law claims because the direct purchaser
                                                                          9   class actions it cites in support of its argument only asserted
                                                                         10   federal claims, and in any event, none of the states whose law
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                                                                         11   Sharp cites would adopt cross-jurisdictional tolling, as noted in
                                                                         12   the Court's concurrently filed order on the Defendants' Joint
                                                                         13   Motion to Dismiss. 8       Further, Sharp would not be able to toll any
                                                                         14   of its indirect purchaser claims based on any direct purchaser
                                                                         15   case.
                                                                         16   ///
                                                                         17
                                                                              8
                                                                         18     The Tennessee Supreme Court has held that "[a]doption of [cross-
                                                                              jurisdictional tolling] would run the risk that Tennessee courts
                                                                         19   would become a clearinghouse for cases that are barred in the
                                                                              jurisdictions in which they otherwise would have been brought."
                                                                         20   Maestas v. Sofamor Danek Grp., Inc., 33 S.W.3d 805, 808 (Tenn.
                                                                              2000). New Jersey limits tolling to former class members, and only
                                                                         21   to the extent their claims were raised in the original putative
                                                                              class actions, so Sharp cannot rely on that case since the DPP
                                                                         22   class did not assert a New Jersey claim. Del Sontro v. Cendant
                                                                              Corp., 223 F. Supp. 2d 563, 581 (D.N.J. 2002). New York law is
                                                                         23   unsettled, but the Court follows the Southern District of New York
                                                                              in declining to import American Pipe into New York state law.
                                                                         24   Soward v. Deutsche Bank AG, 814 F. Supp. 2d 272, 281-82 (S.D.N.Y.
                                                                              2011). California explicitly forecloses American Pipe's
                                                                         25   application to cross-jurisdictional actions. Hatfield v. Halifax
                                                                              PLC, 564 F.3d 1177, 1187 (9th Cir. 2009); see also Clemens v.
                                                                         26   DaimlerChrysler Corp., 534 F.3d 1017, 1025 ("California's interest
                                                                              in managing its own judicial system counsel[s] us not to import the
                                                                         27   doctrine of cross-jurisdictional tolling into California law.").8
                                                                              Florida Statute section 95.051(1) sets out the exclusive list of
                                                                         28   Florida tolling doctrines, which does not include cross-
                                                                              jurisdictional tolling.


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                                                                          1        Therefore, all of Sharp's claims will be dismissed as time-
                                                                          2   barred unless any of those claims is tolled by governmental action.
                                                                          3                   d.    Governmental Action Tolling
                                                                          4        Sharp argues that its claims are tolled by 15 U.S.C. § 16(i),
                                                                          5   which reads:
                                                                          6        Whenever any civil or criminal proceeding is instituted
                                                                                   by the United States to prevent, restrain, or punish
                                                                          7        violations of any of the antitrust laws, but not
                                                                                   including an action under section 15a of this title, the
                                                                          8        running of the statute of limitations in respect to
                                                                                   every private or State right of action arising under
                                                                          9        said laws and based in whole or in part on any matter
                                                                                   complained of in said proceeding shall be suspended
                                                                         10        during the pendency thereof and for one year thereafter
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                                                                                   . . . .
                                                                         11
                                                                         12   Sharp's brief avoids addressing exactly which claims would be
                                                                         13   tolled, but to be clear, § 16(i) only applies to federal law, not
                                                                         14   state law.   15 U.S.C. § 12 (stating that the statute only applies
                                                                         15   to an express list of federal law); Nashville Milk Co. v. Carnation
                                                                         16   Co., 355 U.S. 373, 376 (1958) ("[T]he definition contained in
                                                                         17   [Section] 1 of the Clayton Act is exclusive.         Therefore it is of no
                                                                         18   moment . . . that [a statute] may be colloquially described as an
                                                                         19   'anti-trust' statute.").     Accordingly, the only questions remaining
                                                                         20   in the parties' briefs is whether § 16(i) tolls Sharp's federal
                                                                         21   claim, and whether New York's Donnelly Act, which includes a
                                                                         22   tolling provision modeled on the federal provision, will also toll
                                                                         23   Plaintiff's Donnelly Act claim.
                                                                         24        For § 16(i) to apply to a federal claim, a plaintiff must show
                                                                         25   by a "comparison of the two complaints on their face[s]" that there
                                                                         26   is a significant overlap between the two actions, such "that the
                                                                         27   matters complained of in the government suit bear a real relation
                                                                         28   to the private plaintiff's claim for relief."         Leh v. Gen. Petro.



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                                                                          1   Grp., 382 U.S. 54, 59 (1965).      On this point, Thomson SA argues
                                                                          2   that the indictments on which Sharp relies are limited to
                                                                          3   allegations that the indicted defendants participated in a
                                                                          4   conspiracy involving color display tubes ("CDTs," a type of CRT)
                                                                          5   "for use in computer monitors and other products with similar
                                                                          6   technological requirements."      TC MTD Sharp at 15; TC MTD Sharp Exs.
                                                                          7   A-D ("Indictments").    Thomson SA contends that the indictments
                                                                          8   contain no allegations regarding the color picture tube ("CPT", a
                                                                          9   different type of CRT") market, and that they also all concern
                                                                         10   alleged anticompetitive activities taking place in Asian markets,
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                                                                         11   not in North America or Europe.      TC MTD Sharp at 15-16.         Thomson SA
                                                                         12   also argues that because the indicted individuals are fugitives, it
                                                                         13   is unlikely that any proceedings will occur in their cases, so
                                                                         14   permitting governmental-action tolling would essentially allow
                                                                         15   plaintiffs like Sharp to toll their claims forever.          TSA Reply
                                                                         16   Sharp at 13-14 (citing Ariz. State Bd. for Charter Schs. v. U.S.
                                                                         17   Dep't of Educ., 464 F.3d 1003, 1008 (9th Cir. 2006); Credit Suisse
                                                                         18   Secs. (USA) LTD v. Simmonds, 132 S. Ct. 1414, 1420 (2012)).            The
                                                                         19   Ninth Circuit addressed the latter point in Dungan v. Morgan Drive-
                                                                         20   Away, Inc., 570 F.2d 867, 868-72 (9th Cir. 1987), holding that §
                                                                         21   16(i) must be applied in a way that both strengthens private
                                                                         22   antitrust enforcement and provides a statute of repose.
                                                                         23        The Court is not convinced by Thomson SA's contention that the
                                                                         24   indictments based on CDTs, instead of CPTs, renders the markets so
                                                                         25   different that these actions are dissimilar for purposes of §
                                                                         26   16(i).   Sharp's case, like the other plaintiffs in this action,
                                                                         27   concerns both CDTs and CPTs, and the Court has often noted the
                                                                         28   similarity in these markets.      See, e.g., In re Cathode Ray Tube



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                                                                          1   (CRT) Antitrust Litig., No. 07-5944-SC, 2013 WL 5391159, at *3-4
                                                                          2   (N.D. Cal. Sept. 19, 2013) (discussing the CRT market generally,
                                                                          3   including CPTs and CDTs).     Further, the Court rejects Thomson SA's
                                                                          4   attempt to limit the indictments' relevance to particular criminal
                                                                          5   defendants or geographical regions.       This is a worldwide,
                                                                          6   multinational antitrust case, and Sharp's allegations (like the
                                                                          7   other plaintiffs') are premised partly on the contention that
                                                                          8   price-fixing in one region tends to affect prices elsewhere.           See
                                                                          9   Sharp FAC ¶ 224.
                                                                         10           The Court is also not convinced that permitting tolling based
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                                                                         11   on the Indictments, even when the indicted individuals are
                                                                         12   fugitives and their cases have been inactive for some time,
                                                                         13   produces an "absurd result."      Thomson SA cites case law supporting
                                                                         14   the uncontroversial rule of statutory construction stating that
                                                                         15   statutes should not be interpreted in a way that would produce
                                                                         16   absurd results.    See Ariz. State Bd. for Charter Schs., 464 F.3d at
                                                                         17   1008.    This is not really an issue of statutory interpretation,
                                                                         18   though: it is an application of the statute to facts.
                                                                         19           The more apt case is Credit Suisse, a case concerning the
                                                                         20   tolling provision of § 16(b) of the Securities Exchange Act of
                                                                         21   1934, 15 U.S.C. § 78p(a).     That provision has nothing to do with 15
                                                                         22   U.S.C. § 16(i).    Section 16(b) allows a corporation or security
                                                                         23   holder of that corporation to sue corporate insiders who realize
                                                                         24   profits resulting from purchase and sale, or sale and purchase, of
                                                                         25   the corporation's securities within a six-month period, though they
                                                                         26   must bring suit within two years after the date the profit was
                                                                         27   realized.    A separate part of the Securities Exchange Act, § 16(a),
                                                                         28   requires insiders to publicly disclose such transactions.           Thomson



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                                                                          1   SA appears to be analogizing to the rule the Supreme Court reviewed
                                                                          2   in Credit Suisse: a Ninth Circuit holding that § 16(b) applied to
                                                                          3   toll a plaintiff's claims even if she already knew of the conduct
                                                                          4   at issue (and had sued on it).        See id. at 1419-20.
                                                                          5        That holding was based on the Ninth Circuit's view that §
                                                                          6   16(b) tolled all actions brought under it until the § 16(a)
                                                                          7   disclosure was filed.     Id.   at 1419.     According to the Ninth
                                                                          8   Circuit, such a rule was necessary because otherwise, an
                                                                          9   unscrupulous insider could avoid the salutary effect of § 16(b) by
                                                                         10   failing to file § 16(a) disclosures, thereby concealing from
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                                                                         11   prospective plaintiffs the information necessary to file § 16(b)
                                                                         12   claims.   Id.   The Supreme Court disagreed, holding first that the
                                                                         13   statute's plain language started a two-year clock from the time the
                                                                         14   insider realized a profit from the sale, not from the time a §
                                                                         15   16(a) statement was filed.      Id.    The Supreme Court then noted that
                                                                         16   the Ninth Circuit's rule was inequitable in part because insiders
                                                                         17   would be compelled either to file potentially unnecessary § 16(a)
                                                                         18   disclosures or face § 16(b) litigation in perpetuity, even though
                                                                         19   plaintiffs had been aware of the grounds for their suit for years.
                                                                         20   Id. at 1419-20.
                                                                         21        None of Thomson SA's cases counsels interpreting § 16(i) to
                                                                         22   say anything other than what it does: when the federal government
                                                                         23   brings an antitrust action, private plaintiffs with similar enough
                                                                         24   cases per laws interpreting § 16(i) can toll their claims for the
                                                                         25   pendency of the government's case plus one year.         See Credit
                                                                         26   Suisse, 132 S. Ct. at 1419 (stating that in analyzing a tolling
                                                                         27   provision, courts are to refer first to the statute's text, instead
                                                                         28   of beginning with equitable principles).        Even if the Court were to



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                                                                          1   evaluate Thomson SA's arguments in terms of equity here, the facts
                                                                          2   have not established that it would be inequitable for Sharp to toll
                                                                          3   its claims: the government has not concluded the cases for which it
                                                                          4   issued the Indictments, and the Court is in no position to assume
                                                                          5   (as Thomson SA does) that those cases may as well be put to rest
                                                                          6   forever.   The Court does not know this, and if the government does
                                                                          7   close those cases, the parties will then know very clearly when the
                                                                          8   tolling period will end.     At present, Sharp is entitled to the
                                                                          9   tolling benefit of § 16(i).      See Leh, 382 U.S. at 65 (tolling based
                                                                         10   on government action does not turn on the government's success in
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                                                                         11   proving its complaint's allegations); Zenith Radio Corp. v.
                                                                         12   Hazeltine Research, Inc., 401 U.S. 321, 336 (1971) (the purpose of
                                                                         13   § 16(i) is to enable private litigants to benefit from government
                                                                         14   suits and use the benefits accruing from those suits).
                                                                         15        The Court holds that § 16(i) tolls Sharp's federal claims from
                                                                         16   February 10, 2009, when the first indictment issued, until today.
                                                                         17   The same reasoning applies to Plaintiff's claims under the Donnelly
                                                                         18   Act, which the parties do not fully address in their briefing.
                                                                         19   Since the Donnelly Act's tolling provision maps to the federal law,
                                                                         20   Sharp's Donnelly Act claim is tolled for the pendency of the
                                                                         21   federal criminal proceedings.
                                                                         22          ii.      Laches
                                                                         23        Thomson SA also argues that Sharp's claims are barred by
                                                                         24   laches, an equitable time limitation on a party's right to bring
                                                                         25   suit that requires a showing of (1) unreasonable delay in filing
                                                                         26   the suit and (2) prejudice to Defendant.        Jarrow Formulas, Inc. v.
                                                                         27   Nutrition Now, Inc., 304 F.3d 829, 835 (9th Cir. 2002).             A laches
                                                                         28   defense raised at the motion to dismiss posture requires exclusive



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                                                                          1   reliance on the factual allegations in the complaint.          Kourtis v.
                                                                          2   Cameron, 419 F.3d 989, 1000 (9th Cir. 2005), overruled on other
                                                                          3   grounds, Taylor v. Sturgell, 553 U.S. 880 (2008).         Courts have
                                                                          4   noted that this postural requirement poses a nearly insurmountable
                                                                          5   obstacle to a favorable resolution of a defendant's fact-dependent
                                                                          6   laches claim.   See Mishewal Wappo Tribe of Alexander Valley v.
                                                                          7   Salazar, No. 09-cv-02502-EJD, 2011 WL 5038356, at *7 (N.D. Cal.
                                                                          8   Oct. 24, 2011); Italia Marittima, S.P.A. v. Seaside Transp. Servs.,
                                                                          9   LLC, No. C-10-0803-PJH, 2010 WL 3504834, at *6 (N.D. Cal. Sept. 7,
                                                                         10   2010).
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                                                                         11        In examining Sharp's FAC, it is difficult not to find some
                                                                         12   delay, but the Court cannot find that Sharp's delay was
                                                                         13   unreasonable based only on the FAC's allegations.         As noted above,
                                                                         14   some of Sharp's claims are time-barred, but some are tolled, and
                                                                         15   there is a "strong presumption" that laches is inapplicable to
                                                                         16   claims brought within a statutory period.        See Jarrow, 304 F.3d at
                                                                         17   835-36.    Thomson SA is, of course, not barred from raising laches
                                                                         18   on a more developed record.
                                                                         19            iii.    Failure to State Claims
                                                                         20        Thomson SA argues that Sharp fails to plead claims because (1)
                                                                         21   it pleads no facts plausibly suggesting that it satisfies the
                                                                         22   Illinois Brick ownership or control exception; (2) it fails to
                                                                         23   plead facts establishing that Thomson SA had a significant
                                                                         24   aggregation of contacts with New York and New Jersey; and (3)
                                                                         25   separately, the Court lacks subject matter jurisdiction over
                                                                         26   Sharp's claims, because the FAC pleads no facts plausibly
                                                                         27   suggesting that Thomson SA's alleged foreign conduct caused a
                                                                         28   "direct, substantial, and reasonably foreseeable effect" on



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                                                                          1   domestic commerce under the Foreign Trade Antitrust Improvements
                                                                          2   Act ("FTAIA"), 15 U.S.C. § 6a. 9
                                                                          3           First, Illinois Brick Co. v. Illinois, 431 U.S. 720 (1977),
                                                                          4   which generally bars federal antitrust suits by indirect
                                                                          5   purchasers, permits indirect purchasers to sue if the direct
                                                                          6   purchaser of the allegedly price-fixed good was a division or
                                                                          7   subsidiary of a co-conspirator.          See In re Cathode Ray Tube (CRT)
                                                                          8   Antitrust Litig., 911 F. Supp. 2d 857, 867 (N.D. Cal. 2012) (citing
                                                                          9   In re ATM Fee, 686 F.3d 741, 755 (9th Cir. 2012); Royal Printing
                                                                         10   Co. v. Kimberly Clark Corp., 621 F.2d 323, 326-27 (9th Cir. 1980)).
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                                                                         11   Thomson SA contends that Sharp fails to plead sufficient facts
                                                                         12   demonstrating that its purchases from direct purchasers demonstrate
                                                                         13   sufficient ownership and control to meet this Illinois Brick
                                                                         14   exception.       The Court finds that Sharp has pled enough to state the
                                                                         15   ownership or control exception given Sharp's pleadings about the
                                                                         16   relationship between Thomson SA and Thomson Consumer.
                                                                         17           Second, Thomson SA's argument about its relationship to New
                                                                         18   Jersey is moot, but its argument that it lacks a significant
                                                                         19   aggregation of contacts with New York merits some consideration.
                                                                         20   Thomson SA argues that because Sharp has not alleged that it
                                                                         21   purchased any CRTs or CRT Products in New York, but only that it
                                                                         22   warehoused purchased CRT Products in New York, Sharp has failed to
                                                                         23
                                                                              9
                                                                         24     Sharp raises, in a footnote, the fact that the Ninth Circuit and
                                                                              courts in this district have questioned whether FTAIA presents a
                                                                         25   jurisdictional issue or whether it is an element of a claim. Opp'n
                                                                              to TSA at 24 n.24. The Court need not decide this issue, because
                                                                         26   resolution of the FTAIA question does not require it. Separately,
                                                                              Thomson SA argues that Sharp fails to state a claim under New York
                                                                         27   General Business Law section 349, the New York UCL, but the Court
                                                                              has found that cause of action to be time-barred, so the argument
                                                                         28   here is moot. That section is separate from the Donnelly Act's
                                                                              tolling provision, New York General Business Law section 342-c.


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                                                                          1   allege sufficient contacts with New York to survive a due process
                                                                          2   challenge to the application of New York law.         TC Reply Sharp at
                                                                          3   15; TSA Reply Sharp at 15.
                                                                          4        Thomson SA cites the recent case AT&T Mobility LLC v. AU
                                                                          5   Optronics Corp., 707 F.3d 1106, 1112-13 (9th Cir. 2013), to support
                                                                          6   its contention that the Court's due process analysis is limited to
                                                                          7   examining where the allegedly price-fixed products were purchased
                                                                          8   and where the allegedly anti-competitive conduct giving rise to the
                                                                          9   conspiracy occurred.    TC Reply Sharp at 15.      Thomson SA misreads
                                                                         10   AT&T Mobility and Allstate Insurance Co. v. Hague, 449 U.S. 302,
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                                                                         11   312-13 (1981), as the Court has explained in relation to a
                                                                         12   different Thomson SA in In re CRT, 2013 WL 4505701, at *6.          AT&T
                                                                         13   and Allstate do not limit the Court to those two considerations:
                                                                         14   rather, read together, they require the Court to evaluate, with
                                                                         15   respect to each defendant, whether a plaintiff has alleged
                                                                         16   sufficient conspiratorial conduct within a state such that
                                                                         17   application of that state's law is neither arbitrary nor
                                                                         18   fundamentally unfair.     Id.; see also In re TFT-LCD, No. C-12-3802-
                                                                         19   SI, 2013 WL 1164897, at *4 (N.D. Cal. Mar. 20, 2013).          Sharp
                                                                         20   contends that because Sharp Electronics Corporation ("SEC") is a
                                                                         21   New York corporation, albeit with a principal place of business in
                                                                         22   New Jersey, the effects of the CRT conspiracy on the New York
                                                                         23   market plus the fact that SEC warehoused CRT Products in the state
                                                                         24   merit application of New York law to Thomson SA within the limits
                                                                         25   of due process.   Sharp Opp'n to TC at 25 & n.25.
                                                                         26        The Court finds for Sharp here: Thomson SA's alleged conduct
                                                                         27   resulted in a New York-based company being harmed, and this is
                                                                         28   sufficient to give New York an interest in applying its own law to



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                                                                          1   the controversy, especially given Allstate's "modest restrictions
                                                                          2   on the application of forum law" and "highly permissive standard."
                                                                          3   See Experience Hendrix LLC v. Hendrixlicensing.com Ltd., -- F.3d --
                                                                          4   , Nos. 11-35858, 11-35872, 2014 WL 306600, at *4 (9th Cir. 2014)
                                                                          5   (citing Allstate and AT&T, and quoting AT&T, 707 F.3d at 1111).
                                                                          6        Finally, Thomson SA's FTAIA argument fails.         The FTAIA
                                                                          7   excludes from Sherman Act claims: "(1) export activities and (2)
                                                                          8   other commercial activities taking place abroad, unless those
                                                                          9   activities adversely affect domestic commerce, imports to the
                                                                         10   United States, or exporting activities of one engaged in such
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                                                                         11   activities within the United States."       Hoffman-La Roche, Ltd. v.
                                                                         12   Empagran S.A., 542 U.S. 155, 161 (2004).        Thomson SA argues that
                                                                         13   the alleged meetings and other conspiratorial activities took place
                                                                         14   outside the United States and targeted the world CRT market instead
                                                                         15   of the United States specifically, since Thomson SA and other
                                                                         16   defendants are citizens of foreign countries, and the foreign
                                                                         17   conduct had an indirect and attenuated effect in the United States.
                                                                         18   TSA MTD Sharp at 25.    Thomson SA claims that these amounts to a
                                                                         19   "trickle-down" claim insufficient to ground jurisdiction under the
                                                                         20   FTAIA, so the Court must refuse jurisdiction.         Id.   Sharp responds
                                                                         21   that its claims are based solely on domestic or import commerce, so
                                                                         22   by its terms, the FTAIA does not apply at all.         Sharp Opp'n to TSA
                                                                         23   at 24.   Sharp argues further that even if the FTAIA applied, its
                                                                         24   allegations would fit within the FTAIA's domestic injury exception,
                                                                         25   which permits Sherman Act claims arising from conduct involving
                                                                         26   trade or commerce with foreign nations if (1) the underlying
                                                                         27   conduct cause a "direct, substantial, and reasonably foreseeable
                                                                         28   effect" on American domestic, import, or some export commerce; and



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                                                                          1   (2) the effect gave rise to the injury.        Id. at 25 (citing
                                                                          2   Empagran, 542 U.S. at 162 (quoting 15 U.S.C. § 6a(1)(2)).
                                                                          3        Sharp is correct.     First, while Thomson SA claims that Sharp
                                                                          4   pleads no facts suggesting that Thomson SA set prices of or engaged
                                                                          5   in anticompetitive conduct regarding CRTs imported in the domestic
                                                                          6   market -- since Sharp only pled that it purchased CRTs and CRT
                                                                          7   Products from Thomson Consumer -- Thomson SA is wrong that Sharp
                                                                          8   pled nothing plausibly suggesting Thomson SA's conduct regarding
                                                                          9   CRTs imported to the United States.       Sharp specifically pled that
                                                                         10   Thomson SA met with another co-conspirator and discussed CRT price-
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                                                                         11   fixing for the United States market.       Sharp FAC ¶ 196 (under seal).
                                                                         12   Thomson SA represents that Sharp's allegations only concern
                                                                         13   trickle-down effects, but that is not true.        Sharp's allegations
                                                                         14   regarding Thomson SA do not allege purely "participation in foreign
                                                                         15   meetings regarding foreign commerce," they concern participation in
                                                                         16   foreign meetings regarding United States commerce, even if Sharp
                                                                         17   ultimately purchased the allegedly price-fixed CRTs from Thomson
                                                                         18   Consumer.   This is not excluded under the FTAIA.        Empagran, 542
                                                                         19   U.S. at 161.
                                                                         20
                                                                         21   V.   THOMSON CONSUMER'S MOTION TO DISMISS THE SHARP COMPLAINT
                                                                         22        Thomson SA and Thomson Consumer filed separate motions, but
                                                                         23   their briefs and arguments overlap in most places, with the obvious
                                                                         24   exception of Thomson SA's specific jurisdiction argument.           Thomson
                                                                         25   Consumer's brief primarily concerns laches, statutes of limitation,
                                                                         26   and Sharp's purported failure to plead various federal and state
                                                                         27   claims, all of which the Court discussed at length, see supra.
                                                                         28   Thomson SA's brief incorporates Thomson Consumer's brief on most of



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                                                                          1   these issues, so the Court's analysis is identical.
                                                                          2        A.    Laches
                                                                          3        Thomson Consumer's laches argument is the same as Thomson
                                                                          4   SA's.   The Court's ruling is accordingly the same as above: the
                                                                          5   Court cannot find that Sharp's delay was unreasonable based only on
                                                                          6   the FAC's allegations.
                                                                          7        B.    Statutes of Limitation
                                                                          8        Thomson Consumer's argument that Sharp's claims are time-
                                                                          9   barred is the same as Thomson SA's.       The Court's ruling is also the
                                                                         10   same: fraudulent concealment applies until November 2007, but all
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                                                                         11   of Sharp's claims are DISMISSED WITH PREJUDICE as time-barred,
                                                                         12   except the federal claim and the New York Donnelly Act claim, which
                                                                         13   are both tolled by government action.       The only aspect of the
                                                                         14   Court's analysis that would change here is that, as in the Tech
                                                                         15   Displays America action, American Pipe tolling could not apply to
                                                                         16   Thomson Consumer based on any DPP class action because Thomson
                                                                         17   Consumer was never named as a defendant in any of those cases.
                                                                         18   See, e.g., Tech Data Corp. v. AU Optronics Corp., No. 07-MD-1827,
                                                                         19   2012 WL 3236065, at *5 (N.D. Cal. Aug. 6, 2012).         It tolls claims
                                                                         20   against Thomson SA, but not for long enough to save the claim from
                                                                         21   being untimely absent governmental action tolling.
                                                                         22        C.    Pleading Matters
                                                                         23        Thomson Consumer's pleading arguments are the same as Thomson
                                                                         24   SA's.   The Court's rulings on them are the same as above.
                                                                         25
                                                                         26 VI.    THE THOMSON DEFENDANTS' MOTIONS TO DISMISS THE DAP COMPLAINTS
                                                                         27        Thomson SA and Thomson Consumer file motions to dismiss in the
                                                                         28   aforementioned DAP cases, which as the Court notes below are



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                                                                          1   virtually the same as their briefs in the Sharp matter, discussed
                                                                          2   at length above.    The main difference is that the Court had once
                                                                          3   considered and denied the DAPs' requests to add the Thomson
                                                                          4   Defendants to their complaints.      See ECF No. 1959 ("Order Denying
                                                                          5   Amendment").   The difference between then and now, as discussed in
                                                                          6   the concurrently filed Order in Mitsubishi's motion to dismiss, is
                                                                          7   that the DAPs now provide substantially more facts explaining why
                                                                          8   the Thomson Defendants should be in this case, instead of listing
                                                                          9   and relying on unacceptably vague boilerplate.
                                                                         10        However, in most respects, the DAP-Thomson dispute is the same
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                                                                         11   as the Sharp-Thomson dispute, and for brevity's sake the Court
                                                                         12   rules on all of the issues in this Order, incorporating the above
                                                                         13   analysis and relevant parts of the Order on Mitsubishi's motion to
                                                                         14   dismiss.
                                                                         15        First, the Court rejects Thomson SA's argument that the DAPs
                                                                         16   fail to plead facts supporting an uncontroverted finding of
                                                                         17   specific jurisdiction.     The DAPs plead sufficient facts to support
                                                                         18   a finding that Thomson SA directed its price-fixing activities
                                                                         19   toward the United States.     They also provide evidence, which
                                                                         20   Thomson SA fails to rebut, that Thomson SA targeted the United
                                                                         21   States by setting price targets for United States purchases,
                                                                         22   approving various pricing plans from its French headquarters,
                                                                         23   exchanging information about United States CRT operations in
                                                                         24   meetings at its French headquarters, and sharing worldwide market
                                                                         25   information (with the knowledge that the United States was the
                                                                         26   world's largest CRT market).      See Best Buy Compl. ¶¶ 29-30, 151;
                                                                         27   ECF No. 2378-1 ("Loh Decl.") Exs. C, P-T (meeting notes, agendas,
                                                                         28   and emails indicating that Thomson SA was targeting the United



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                                                                          1   States and approving United States-targeted price-fixing activity).
                                                                          2   As above, Thomson SA refers to its own declarations and affidavits,
                                                                          3   but these do not directly controvert any of the DAPs' allegations
                                                                          4   about Thomson SA's United States-targeted activity, nor does
                                                                          5   Thomson SA respond to the facts the DAPs provide with their
                                                                          6   opposition brief.    The Court finds, as above, that Thomson SA
                                                                          7   directed price-fixing activity toward the United States, that this
                                                                          8   activity was a but-for cause of the DAPs' injuries, and that it
                                                                          9   would be reasonable to exercise specific jurisdiction over Thomson
                                                                         10   SA.
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                                                                         11         As to each Thomson Defendant, the Court makes the same
                                                                         12   findings on laches, statutes of limitations, and pleading matters
                                                                         13   described above.    Nothing in the Thomson Defendants' briefs in the
                                                                         14   DAP cases changes this analysis.      Accordingly, the Court rejects
                                                                         15   the Thomson Defendants' laches arguments at this time, for reasons
                                                                         16   described above and in the concurrently filed Order on Mitsubishi's
                                                                         17   motion to dismiss.
                                                                         18         American Pipe tolling does preserve the DAPs' claims against
                                                                         19   Thomson SA for reasons described above, but only for a short time -
                                                                         20   - even with the benefit of the short tolling period on which the
                                                                         21   DAPs rely, their claims would be untimely.        See DAP Opp'n to TSA at
                                                                         22   17-18.   Since Thomson Consumer had not been named as a defendant in
                                                                         23   the earlier cases on which the DAPs rely, American Pipe does not
                                                                         24   toll claims against it.     Tech Data Corp. v. AU Optronics Corp.,
                                                                         25   2012 WL 3236065, at *5.
                                                                         26         Further, DAPs do not state that any of the direct purchaser
                                                                         27   complaints on which they rely raised the same state causes of
                                                                         28   action, which is grounds for the Court to reject the application of



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                                                                          1   American Pipe to the DAPs' state law claims.         See In re TFT-LCD
                                                                          2   (Flat Panel) Antitrust Litig., No. M 07-1827 SI, C 12-4114 SI, 2013
                                                                          3   WL 254873, at *2 & n.3 (N.D. Cal. Jan. 13, 2013) (declining to
                                                                          4   apply American Pipe to state law claims not asserted in the
                                                                          5   original complaint); accord In re Copper Antitrust Litig., 436 F.3d
                                                                          6   782, 793-97 (7th Cir. 2006) (same).
                                                                          7        Finally, for the sake of thoroughness, the Court is not
                                                                          8   persuaded that Kansas, Michigan, or Minnesota -- the three states
                                                                          9   not also discussed in the Sharp case or the Joint Motion to Dismiss
                                                                         10   -- would adopt cross-jurisdictional tolling based on federal class
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                                                                         11   actions asserting federal claims.         In the DAPs' case Seaboard Corp.
                                                                         12   v. Marsh Inc., 284 P.3d 314, 327 (Kan. 2012), the Kansas Supreme
                                                                         13   Court stated specifically that Kansas has declined to adopt
                                                                         14   American Pipe principles, and applied tolling instead based on a
                                                                         15   specific state statute.     In Mair v. Consumers Power Co., 384 N.W.2d
                                                                         16   256, 260-61 (Mich. 1984), the Michigan Supreme Court held that a
                                                                         17   federal administrative complaint did not put a defendant on notice
                                                                         18   of a state claim.    In Lee v. Grand Rapids Bd. of Educ., 148 Mich.
                                                                         19   App. 364, 367-68 (Mich. Ct. App. 1986), the Michigan Court of
                                                                         20   Appeals cited Mair to describe Michigan law's occasional
                                                                         21   application of tolling when a defendant has notice of a state law
                                                                         22   claim, which is not the case when a federal complaint does not
                                                                         23   include the state law cause of action, as in this case.             It is
                                                                         24   possible that Minnesota courts would analogize to American Pipe's
                                                                         25   cross-jurisdictional tolling principles in some circumstances, but
                                                                         26   the application of this rule in Minnesota courts appears to depend
                                                                         27   on whether the defendant had notice of the state law claims, which,
                                                                         28   as stated above, does not appear to be the case where federal



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                                                                          1   plaintiffs did not plead the same Minnesota causes of action
                                                                          2   against the same defendants.       See Bartlett v. Miller & Schroeder
                                                                          3   Muns., 355 N.W.2d 435, 439-40 (Minn. 1984).
                                                                          4        The Thomson Defendants' pleading arguments are rejected in the
                                                                          5   DAP cases for the reasons explained above.
                                                                          6        The Court finds that all of the DAPs' state law claims against
                                                                          7   the Thomson Defendants are DISMISSED WITH PREJUDICE as untimely,
                                                                          8   except any Donnelly Act claims, which are tolled by governmental
                                                                          9   action.   The federal claims are also tolled by governmental action.
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                                                                         11   VII. CONCLUSION
                                                                         12        As explained above, the Court GRANTS in part and DENIES in
                                                                         13   part the Thomson Defendants' motions to dismiss.          All Plaintiffs'
                                                                         14   state law claims are DISMISSED WITH PREJUDICE as untimely, except
                                                                         15   their Donnelly Act claims, which are tolled by the federal criminal
                                                                         16   proceedings.    All Plaintiffs' federal claims are also tolled.
                                                                         17
                                                                         18        IT IS SO ORDERED.
                                                                         19
                                                                         20        Dated: March 13, 2014
                                                                         21                                               UNITED STATES DISTRICT JUDGE

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